                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR02-1017-LRR
                                                         No. C04-1031-LRR
 vs.
                                                                ORDER
 KEVIN M. THURMON,
               Defendant.

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       This matter appears before the court on the defendant’s motion to vacate, set aside
or correct sentence pursuant to 28 U.S.C. § 2255 (Docket No. 165). The defendant filed
his 28 U.S.C. § 2255 motion on October 4, 2004. On December 21, 2005, the court
dismissed one of the defendant’s claims and directed the government to respond to the
defendant’s remaining claims. On March 9, 2006, the government complied with the
court’s order by filing a resistance (Docket No. 184). On April 20, 2006, the defendant
filed a reply (Docket No. 194). The court now turns to consider the defendant’s motion
pursuant to 28 U.S.C. § 2255.
       Given the record, the court concludes an evidentiary hearing is not necessary. See
United States v. Oldham, 787 F.2d 454, 457 (8th Cir. 1986) (stating district court is given
discretion in determining whether to hold an evidentiary hearing on a motion under 28
U.S.C. § 2255). In addition, the court deems it appropriate to deny the defendant’s 28
U.S.C. § 2255 motion for the reasons stated in the government’s resistance.             The
government’s brief adequately sets forth the law in the Eighth Circuit as applied to the
facts in the defendant’s case. Moreover, the court thoroughly reviewed the record and
finds that the denial of the defendant’s 28 U.S.C. § 2255 motion results in no “miscarriage

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of justice” and is consistent with the “rudimentary demands of fair procedure.” Hill v.
United States, 368 U.S. 424, 428, 82 S. Ct. 468, 7 L. Ed. 2d 417 (1962); see also United
States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996) (“Relief under 28 U.S.C. § 2255 is
reserved for transgressions of constitutional rights and for a narrow range of injuries that
could not have been raised for the first time on direct appeal and, if uncorrected, would
result in a complete miscarriage of justice.” (citing Poor Thunder v. United States, 810
F.2d 817, 821 (8th Cir. 1987))). Accordingly, the defendant’s 28 U.S.C. § 2255 motion
shall be denied.
       In a 28 U.S.C. § 2255 proceeding before a district judge, the final order is subject
to review, on appeal, by the court of appeals for the circuit in which the proceeding is
held. See 28 U.S.C. § 2253(a). Unless a circuit justice or judge issues a certificate of
appealability, an appeal may not be taken to the court of appeals. See 28 U.S.C. §
2253(c)(1)(A). A district court possesses the authority to issue certificates of appealability
under 28 U.S.C. § 2253(c) and Fed. R. App. P. 22(b). See Tiedeman v. Benson, 122 F.3d
518, 522 (8th Cir. 1997). Under 28 U.S.C. § 2253(c)(2), a certificate of appealability
may issue only if a defendant has made a substantial showing of the denial of a
constitutional right. See Miller-El v. Cockrell, 537 U.S. 322, 335-36, 123 S. Ct. 1029,
1039, 154 L. Ed. 2d 931 (2003); Garrett v. United States, 211 F.3d 1075, 1076-77 (8th
Cir. 2000); Carter v. Hopkins, 151 F.3d 872, 873-74 (8th Cir. 1998); Cox v. Norris, 133
F.3d 565, 569 (8th Cir. 1997); Tiedeman, 122 F.3d at 523. To make such a showing, the
issues must be debatable among reasonable jurists, a court could resolve the issues
differently, or the issues deserve further proceedings. Cox, 133 F.3d at 569 (citing Flieger
v. Delo, 16 F.3d 878, 882-83 (8th Cir. 1994)); see also Miller-El, 537 U.S. at 335-36
(reiterating standard).
       Courts reject constitutional claims either on the merits or on procedural grounds.
“‘[W]here a district court has rejected the constitutional claims on the merits, the showing
required to satisfy [28 U.S.C.] § 2253(c) is straightforward: the [defendant] must

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demonstrate that reasonable jurists would find the district court’s assessment of the
constitutional claims debatable or wrong.’” Miller-El, 537 U.S. at 338 (quoting Slack v.
McDaniel, 529 U.S. 473, 484, 120 S. Ct. 1595, 146 L. Ed. 2d 542 (2000)). When a
federal habeas petition is dismissed on procedural grounds without reaching the underlying
constitutional claim, “the [defendant must show], at least, that jurists of reason would find
it debatable whether the petition states a valid claim of the denial of a constitutional right
and that jurists of reason would find it debatable whether the district court was correct in
its procedural ruling.” See Slack, 529 U.S. at 484.
       Having thoroughly reviewed the record in this case, the court finds the defendant
failed to make the requisite “substantial showing” with respect to the claims he raised in
his 28 U.S.C. § 2255 motion. See 28 U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b).
Because he does not present questions of substance for appellate review, there is no reason
to grant a certificate of appealability. Accordingly, a certificate of appealability shall be
denied. If he desires further review of his 28 U.S.C. § 2255 motion, the defendant may
request issuance of the certificate of appealability by a circuit judge of the Eighth Circuit
Court of Appeals in accordance with Tiedeman, 122 F.3d at 520-22.


       IT IS THEREFORE ORDERED:
       1) The defendant’s 28 U.S.C. § 2255 motion (Docket No. 165) is DENIED.
       2) A certificate of appealability is DENIED.
       DATED this 23rd day of October, 2006.




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